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DEMETRAS LAW

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
IN RE BK-N-23-50950-HLB
PHILIP ANDREW MACKEN, Chapter 13
Debtor JOINT EXPARTE APPLICATION
FOR ORDER APPROVING
STIPULATION REGARDING

PROPOSED AMENDMENT TO
/ SCHEDULING ORDER AND
PENDING DISCOVERY RE
DEBTOR’S OBJECTION TO
CLAIM 9 (DOC, 73)

The parties, by and through their undersigned counsel, hereby move the Court for
an Order Approving the Stipulation Regarding Proposed Amendment to Scheduling
Order and Pending Discovery re Debtor’s Objection to Claim 9 (Doc. 73) attached hereto
as Exhibit “A.”

DATED this 14" day of May, 2025.

DEMETRAS LAW UNITED STATES
/s/ J. Craig Demetras /s/ Patrick R. Burnett
By: J. CRAIG DEMETRAS By: PATRICK R. BURNETT

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EXHIBIT “A”

EXHIBIT “A”
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IN THE UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re: Case No. 23-50950-HLB
PHILIP ANDREW MACKEN, Chapter 13
Debtor. STIPULATION REGARDING

PROPOSED AMENDMENT TO
SCHEDULING ORDER AND PENDING
DISCOVERY RE DEBTOR’S
OBJECTION TO CLAIM 9 (DOC. 73)

Judge: The Honorable Hilary L. Barnes

On May 13, 2025, counsel for the United States and counsel for Debtor Andrew Philip
Macken and his wife, Dolores Webb Macken, met and conferred regarding Mr. Macken’s
pending Motion to Extend Discovery to Allow Debtor to Produce an Expert Report. (Doc. 174.)
In light of counsels’ negotiations and respective discussions with their clients, the parties hereby
file this stipulation regarding a proposed amendment to the Scheduling Order and pending
discovery deadlines and move this Court to adopt the following Stipulation:

1. The Mackens agree that the anticipated proceeds due to Mrs. Macken from the

probate matter Jn re General William Mills, Case No. PB-2024-00004, Pawnee
County, Oklahoma District Court, will be paid directly to the United States in partial
satisfaction of the Proof of Claim at issue. The Mackens will ensure that the required
documentation will be filed with the probate court needed to secure such payment.

2. With the Court’s permission, the parties will reopen discovery for a period of six

months with the below proposed deadlines. The parties will not move for any

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discovery extensions absent extraordinary circumstances. The discovery may include
re-opening the depositions of Philip Macken and Dolores Webb Macken.

3. Mr. Macken will withdraw the pending Motion to Extend Discovery to Allow Debtor
to Produce an Expert Report. (Doc. 174.)

4, Mr. Macken will amend his Schedule A/B to disclose all ownership interests in non-
publicly traded stock and interests in incorporated and unincorporated businesses,
including but not limited to RPM Consulting Group, LLC and Majestic Mountain
View Ranch, Inc.

5. Mr. Macken agrees that the deadline for the United States to respond to his first set of
interrogatories and requests for production currently set for May 16, 2025 is extended
to June 13, 2025.

6. The deposition of Revenue Agent Benjamin Hamilton currently set for May 20, 2025
will be continued to an undetermined later date.

In conjunction with the above stipulation, the parties also move this Court to vacate its
previous scheduling order in this matter (Doc. 173) and to adopt a modified scheduling order, as
follows:

Deadline to disclose expert: August 8, 2025.

Deadline to disclose rebuttal expert: September 30, 2025.

Deadline for the Parties to issue written discovery: October 10, 2025.

Close of Discovery: November 10, 2025.

Deadline to file dispositive motions: December 9, 2025.

The currently scheduled settlement conference before Judge Jaime set for July 17, 2025 is

vacated.

The currently scheduled status hearing set for August 5, 2025 is vacated.

The parties will request the Court to set a status hearing at the Court’s convenience after

the close of discovery on November 10, 2025.

At the status hearing, the parties will request the Court to set a mandatory settlement

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conference, trial date, and pre-trial deadlines

Dated: May 14, 2025

Dated: May 14, 2025

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/s/ Patrick Burnett
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U.S. Department of Justice
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/s/ J. Craig Demetras

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Counsel for Philip and Dolores Macken

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CERTIFICATE OF SERVICE

I hereby certify that I am an employee of Demetras Law and that on May 14, 2025,
the foregoing document was served via ECF automated system to all ECF registered parties

existing in this case.

Dated: May 14, 2025.

/s/ Julie Ann Raum
Employee of Demetras Law

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